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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
             Plaintiff,                    )
                                           )
        v.                                 )       No. 4:09 CR 166 RWS
                                           )                       DDN
ISAIAS GUZMAN-BUSIO,                       )
MARIA GUADALUPE QUINTERO-BOBADILLA,        )
TARSICIO CORREA-GUIJOZA,                   )
RAZA KAZAMI, and                           )
LAIS MOHAMMAD NOORI,                       )
                                           )
             Defendants.                   )
                          ORDER AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE
        This action is before the court upon the pretrial motions of the
parties which were referred to the undersigned United States Magistrate
Judge pursuant to 28 U.S.C. § 636(b).          A hearing was held on April 21,
2009.    The court discusses the status of each defendant seriatim.


                              Isaias Guzman-Busio
        On February 27, 2009, the Count 1 charge against defendant Isaias
Guzman-Busio was dismissed.       (Doc. 64.)


                    Maria Guadalupe Quintero-Bobadilla
        On April 9, 2009, defendant Maria Guadalupe Quintero-Bobadilla
waived her rights to bring pretrial motions and her case is now before
the district judge for further proceedings.          (Doc. 107.)


                            Tarsicio Correa-Guijoza
        On April 21, 2009, defendant Tarsicio Correa-Guijoza waived his
rights to bring pretrial motions (Doc. 113) and his case is now before
the district judge for further proceedings.
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                                   Raza Kazami
                                     Doc. 93
      Defendant Raza Kazami has moved for disclosure of statements of co-
defendants and co-conspirators.          In response, counsel for the United
States indicated, and counsel for the defendant agreed, that such
evidence has been provided to the defendant.             Therefore, this motion
will be denied as moot.
                                     Doc. 94
      Defendant has moved for a declaration by the government of its
intention to offer evidence under the residual hearsay exception of
Federal Rule of Evidence 807.       In response, counsel for the government
indicated that it has no such evidence at this time.              At the request of
defendant,    the   court   will   order    the    government     to    disclose   such
evidence, if it acquires such.
                                     Doc. 95
      Defendant Kazami has moved for a declaration by the government of
its intention to offer evidence under Federal Rule of Evidence 404(b).
In response, counsel for the government indicated that it has no such
evidence at this time.       At the request of defendant, the court will
order the government to disclose such evidence, if it acquires such.


                                     Doc. 96
      Defendant has moved for severance of his case for a trial separate
from the trial of the co-defendants. In response, the government agrees
that the defendants remaining for trial should be tried separately,
because a joint trial might violate the defendants’ respective rights
under Bruton v. United States, 391 U.S. 123 (1968).                    Therefore, the
court will recommend that the defendants remaining for trial be tried
separately.
                                     Doc. 97
      Defendant Kazami has moved for disclosure of the identification of
the   confidential    informant    who     was    involved   in   the    government’s
investigation.      Under Roviaro v. United States, 353 U.S. 53 (1957), a
defendant is not necessarily entitled to discovery of an informant's
identity.    Rather, the court must balance the defendant's need to know


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the identity of the informant with the public's interest in keeping the
identity confidential.      The defendant's need for disclosure might be
established by showing that the informant was a material witness to the
events to be proved at trial or that the informant's testimony is
crucial to his defense.      Roviaro, 353 U.S. at 64-65; United States v.
Feldewerth,   982   F.2d   322,   324   (8th    Cir.    1993);    United    States   v.
Rodrequez, 859 F.2d 1321, 1326 (8th Cir. 1988); United States v.
Bourbon, 819 F.2d 856, 860 (8th Cir. 1987).                 The public interest in
preserving the informant's anonymity and encouraging citizens to report
crimes is very strong.       Roviaro, 353 U.S. at 59-62; see also United
States v. Curtis, 965 F.2d 610, 613-14 (8th Cir. 1992).
     In response to the motion, counsel for the United States indicated
that the subject person was a witness to the facts the government
intends to prove in its case-in-chief at trial and that this person will
be called as a government witness at trial.            Therefore, it is clear that
the confidential informant is a material witness whose identity ought
to be disclosed to the defense.
     Counsel for the government further indicated that the defendants
have some information about the confidential informant, although not the
informant’s name and location.      Defendant Noori argued that he wants to
investigate the informant in preparing for a trial.
     Generally, pretrial disclosure of evidence to the defense is
limited.   Under Federal Rule of Criminal Procedure, the government is
required to provide a defendant with that defendant’s oral and recorded
statements, that defendant’s prior criminal record, an opportunity to
inspect and copy certain categories of physical evidence, and certain
information about expert witnesses.             See Fed. R. Crim. P. 16(a)(1).
Information the defense is not entitled                to   is   set forth in Rule
16(a)(2)(including “statements made by prospective government witnesses
except as provided in 18 U.S.C. § 3500" (Jencks Act)).
     Thus, generally, the government is not required to provide the
defense with the identification of its trial witnesses.                 United States
v. White, 750 F.2d 726, 728 (8th Cir. 1984).                However, the court may
order such disclosure in a proper case.          United States v. DeCoteau, 186
F.3d 1008, 1010 n. 2 (8th Cir. 1999).             Pretrial preparation for the


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government’s case or evidence is not a proper reason for requiring the
government to disclose its witnesses.
        However, a defendant’s constitutional entitlement to government
information comes into play when the information is important to either
impeachment of government evidence or to proving a defendant’s defense.
Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S.
150 (1972); see also Strickler v. Greene, 527 U.S. 263, 281-82 (1999);
Kyles v. Whitley, 514 U.S. 419, 433-34 (1995).
        At the hearing on April 21, 2009, counsel for the government
indicated that the confidential informant’s information is not helpful
to   impeaching         government    evidence         or   to   establishing         a   defense.
However, that is not for the government to decide, given that it agrees
that the confidential informant is a material witness. See Roviaro, 353
U.S. at 629 (“The desirability of calling John Doe as a witness, or at
least interviewing him in preparation for trial, was a matter for the
accused rather than the Government to decide.”).
        Given    the     relevance    and        the   importance     of    the   confidential
informant’s testimony to the trial, the government must enquire of the
confidential informant whether or not that person would voluntarily
agree    to     being    interviewed        by    defense     counsel,     even       remotely   by
telephone       and     for   a   limited    period      of   time.        If   the    government
determines that the informant objects to being interviewed by defense
counsel before trial, the government is not required to make the
informant available for this purpose.                       If the confidential informant
would submit to such an interview, the informant shall be made available
for an interview under conditions agreeable by all parties, including
the informant.          If the informant advises the government that he or she
would not agree to such an interview, such an interview will not be
ordered.
        If the confidential informant is called as a government witness at
trial, any favorable information (Brady and Giglio information) or
Jencks Act material about the informant must be provided to the defense
as in any case.           As stated above, counsel for the United States has
stated that it has no defense-favorable information regarding the
confidential informant.            If that remains the government’s position, but


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it ultimately does not call the confidential informant as a witness, it
shall disclose the person’s identity and location for service of a
defense subpoena.


                                      Doc. 99
     Defendant    Kazami   has     moved    for   disclosure    of   expert   witness
reports. Counsel for the government indicated that it will provide them
as required.   The court will order them disclosed to the defense at noon
on the Friday before trial.


                                Lais Mohammad Noori
                                     Doc. 109
     Defendant Lais Mohammad Noori has moved for severance for a trial
separate   from   any   other    co-defendant.       As   set    forth   above,    the
undersigned recommends the severance of all defendants for a separate
trial.
                                     Doc. 108
     Defendant Noori has moved to dismiss Count 1 for failure to allege
specific facts supporting the essential elements of the charged offense.
     To be legally sufficient on its face, the indictment must contain
all the essential elements of each offense charged; it must fairly
inform each defendant of the charge against which he must defend; and
it must allege sufficient information to allow a defendant to plead a
conviction or an acquittal as a bar to a future prosecution.                      U.S.
Const. amends. V and VI; Fed. R. Crim. P. 7(c)(1)1; Hamling v. United
States, 418 U.S. 87, 117 (l974); United States v. White, 241 F.3d 1015,
1021 (8th Cir. 2001). Generally, using more specific language than that
of the underlying statute is not required for an indictment to be
legally sufficient on its face.            United States v. Resendiz-Ponce, 549
U.S. 102, 109 (2007); Hamling, 418 U.S. at 117.




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      Specifically, Rule 7(c)(1) provides, in pertinent part: “The
indictment . . . must be a plain, concise, and definite written
statement   of   the  essential  facts   constituting the   offense
charged. . . .” See Fed. R. Crim. P. 7(c)(1).

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      In this case, defendant Noori is charged only in Count 1, with
“knowingly and willfully” conspiring with the three co-defendants
      to distribute and possess with intent to distribute cocaine,
      a Schedule II controlled substance, in violation of Title 21,
      United States Code, Section 841(a)(1). All in violation of
      Title 21 United States Code, Section 846; and The quantity
      of cocaine involved in the offense was in excess of 500
      grams, thus making the offense punishable under Title 21,
      United States Code, Section 841(b)(1)(B)(ii).

The alleged place of the conspiracy is the City of St. Louis and the
alleged time period of the conspiracy is from January 16, 2009 to
January 27, 2009.       (Doc. 1.)
      The indictment alleges all the essential elements of the charged
violation of § 846,2 i.e., that each defendant (1) knowingly and
willfully (2) agreed with another person (3) to violate the federal
narcotics laws (to distribute cocaine).             An overt act in furtherance of
the alleged conspiracy is not an element of an offense under § 846.                 See
United States v. Robinson, 217 F.3d 560, 564 (8th Cir. 2000); United
States v. Shoffner, 71 F.3d 1429, 1433 (8th Cir. 1995); United States
v. Covos, 872 F.2d 805, 810 (8th Cir. 1989).
      Defendant argues that, although the indictment may allege the
essential elements of the Count 1 offense, it does not allege specific
facts which establish the offense.                The undersigned disagrees.        The
indictment alleges the time frame of the alleged offense (January 16-27,
2009); it alleges the general location (St. Louis City); it identifies
the   members    of   the    conspiracy    (the    named   co-defendants);    and    it
identifies      the   type   of   drug    involved    (cocaine).     More    specific
information is not required.         United States v. Olderbak, 961 F.2d 756,
759-60 (8th Cir. 1992).
      Whereupon,
      IT IS HEREBY ORDERED that the motion of the United States for a
determination of the admissibility vel non of any arguably suppressible




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      21 U.S.C. § 846 provides, in pertinent part: “Any person who . . .
conspires to commit any offense defined in this subchapter shall be
subject to the same penalties. . . .” See 21 U.S.C. § 846.

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evidence (Docs. 71, 83 oral motions; and Doc. 86 documentary motion) are
denied as moot.
     IT IS FURTHER ORDERED that the discovery request document docketed
as a motion for discovery, filed by defendant Raza Kazami, (Doc. 92) is
ordered to be administratively terminated because it does not call for
relief from the court.
     IT IS FURTHER ORDERED that the motion of defendant Raza Kazami for
disclosure of statements of co-defendants and co-conspirators (Doc. 93)
is denied as moot.
     IT IS FURTHER ORDERED that the motion of defendant Kazami for a
declaration by the government of its intention to offer evidence under
the residual hearsay exception of Federal Rule of Evidence 807 (Doc. 94)
is denied as moot.   However, if the government acquires such evidence,
it shall disclose it to the defendant not later than seven days before
trial.
     IT IS FURTHER ORDERED that the motion of defendant Kazami for a
declaration by the government of its intention to offer evidence under
Federal Rule of Evidence 404(b)(Doc. 95) is denied as moot.          However,
if the government acquires such evidence, it shall disclose it to the
defendant not later than seven days before trial.
     IT IS FURTHER ORDERED that the motion of defendant Kazami for
disclosure of the identification of the confidential informant in this
case (Doc. 97) is sustained, only as set forth in pages 4-5 above.
Otherwise, the motion is denied.
     IT IS FURTHER ORDERED that the motion of defendant Kazami for
disclosure of expert witness reports (Doc. 99) is sustained.               The
government shall disclose the reports of its expert witnesses not later
than noon on the Friday before trial.
     IT IS FURTHER ORDERED that the motion of defendant Kazami for leave
to withdraw his motions to suppress evidence (Doc. 110) is sustained.
     IT IS FURTHER ORDERED that the motion of the United States for
leave to file a response to defense motions (Doc. 112) is sustained.
     IT IS FURTHER ORDERED, for administrative purposes, that the still
pending motion of attorney Kevin Schriener for leave to withdraw from
representing defendant Raza Kazami (Doc. 33) is sustained.

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     IT IS HEREBY RECOMMENDED that the motions of defendant Raza Kazami
(Doc. 96) and of defendant Lais Mohammad Noori (Doc. 109) for severance
of their respective cases for separate trials be sustained.
     IT IS HEREBY RECOMMENDED that the motion of defendant Lais Mohammad
Noori to suppress evidence (Doc. 81 oral motion) be denied as moot.
     IT IS HEREBY RECOMMENDED that the motion of defendant Noori to
dismiss Count 1 as legally insufficient on its face (Doc. 108) be
denied.
     IT IS HEREBY RECOMMENDED that the motion of defendant Raza Kazami
to suppress evidence and statements (Doc. 69 oral motion and Doc. 98
documentary motion) be denied because they were withdrawn.
     The parties are advised that they have ten days from today to file
documentary objections to this Order and Recommendation.         The failure
to file timely documentary objections may waive the right to appeal
issues of fact.
     As directed by the District Judge, this matter is set for a jury
trial on the docket commencing July 6, 2009, at 9:00 a.m.




                                      /S/   David D. Noce
                                  UNITED STATES MAGISTRATE JUDGE

Signed on April 28, 2009.




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